
Morgan, J.
Appeal from a judgment for plaintiff in an action to quiet title to one-half of a quarter-section of land. The judgment is affirmed upon the authority of the following citations.
A tax deed is void on its face if non-contiguous tracts of land are sold en masse for a gross sum, even when bid in by the county; or if the county clerk assigns the certificate of purchase more than three years after the sale. — Fleming v. Howell, 22 Colo. App., 382, 125 Pac., 551; Stephens-Wilmot Inv. Co. v. Howell, 23 Colo. App., 396, 128 Pac., 476; Empire Ranch &amp; Cattle Co. v. Coleman, 23 Colo. App., 351, 129 Pac., 522.
The five years statute of limitation, limiting the time within which an action shall be commenced to recover land sold for taxes, is no defense in an action to quiet title, nor does it apply where it is based upon a tax deed void upon its face. — Empire Ranch &amp; Cattle Co. v. Mason, 22 Colo. App., 612, 126 Pac., 1129; Munson v. Keim, 53 Colo., 576, 127 Pac., 1026; Dimpfel v. Beam, 41 Colo., 25, 91 Pac., 1107; Page v. Gillett, 47 Colo., 289, 107 Pac., 290; Bloomer v. Cristler, 22 Colo. App., 238, 123 Pac., 966; Fleming v. Howell, supra.
Seven full years must intervene between the first payment of taxes and the commencement of the action, to avail a defendant pleading the seven years statute of limitations in the case of vacant and unoccupied land.— Empire Ranch &amp; Cattle Co. v. Howell, ante 154, 131 Pac., 798; citing Empire Ranch &amp; Cattle Co. v. Howell, 22 Colo. App., 584, 126 Pac., 1096.

Affirmed.

